                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION – DETROIT

In re:

Carmen Walker Johnson,                                             Case No.: 13-54471-wsd
                                                                   Chapter 13
      Debtor                                                       Hon. Walter Shapero
___________________________________________/

                     OPINION INCIDENT TO PROOF OF CLAIM #5

     The Court confirmed the Debtor’s Chapter 13 plan on December 13, 2013. That plan

contemplated continuing monthly payments via the Chapter 13 Trustee to Ocwen Loan

Servicing, LLC, as servicer for HSBC Bank USA, N.A. (“Creditor”) incident to a first mortgage

on the Debtor’s residence at 24671 Pembrooke Dr., Southfield, Michigan 48033, in the amount

of $1,566, as well as additional monthly payments of $240 for 25 months to cure prepetition

arrearages. The Debtor based this treatment on the understanding that on February 10, 2012 she

had successfully entered into a proposed loan modification (“Loan Modification”) offered to her

by Creditor. Creditor did not object to the Chapter 13 plan prior to its confirmation. Following

that loan modification process, the Debtor proceeded to remit some eleven or so of the payments

called for in the Loan Modification, and, did so via MoneyGram. Unknown to the Debtor at the

time, Creditor did not accept any of those payments and instead returned them to MoneyGram,

not to the Debtor, and did not otherwise notify the Debtor of those returned payments at the time.

The MoneyGram issuer apparently did not inform Debtor of those returned remittances, but at

some point, the Debtor did discover that fact and it was apparently largely what precipitated her

bankruptcy filing.

     On February 4, 2014, Debtor filed a protective Proof of Claim #5 on Creditor’s behalf

asserting a claim for $224,415, with an arrearage of $6,000, and indicating payments consistent




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with what the confirmed plan stated. Notice of that claim filing by the Debtor was

contemporaneously given to Creditor. The evidence indicates that post-confirmation, the Chapter

13 Trustee began making the payments to Creditor in the amounts called for under the confirmed

plan. On December 24, 2014, Creditor filed an Amended Proof of Claim #5 in the amount of

$323,356.38, with an arrearage of $107,861.99. On February 16, 2015, and Creditor also filed an

objection to the Debtor’s protective Proof of Claim. The competing claims precipitated an

evidentiary hearing.

     The Court finds for the Debtor and sustains her objection to Creditor’s claim for a number

of reasons. The first relates to the effectiveness of the Loan Modification, which was a written

document from Creditor addressed to the Debtor and stating first the Debtor’s agreement that the

then new principal balance under the modified note and mortgage will be $290,705.89 and

further stating in relevant part:

        In order to accept this modification on your loan, you must complete ALL of the
        following steps on or before 2/10/12, (“Due Date”):

        1. SIGN the bottom of the Agreement on the line(s) for the Borrower(s);

        2. FAX the fully executed Agreement to:              Attention: Home Retention
                                                             Department (407) 737-5693;

        3. PAY the full down payment in the amount of: $2,102.64
                                                  [See Payment Instructions Attached]

        4. NEW MONTHLY PAYMENT:
        Principal and Interest Payment                       $1,534.45
        Total (which may or may not include escrow)          $2,102.64
                                                             starting on 3/1/12

        5. SEND proof of insurance coverage* Attention: Escrow Department
                                             Fax: (888) 882 -1816
                                              Email:updateinsuranceinfo@ocwen.com

Exh. 1 (all bold text in original). It was stipulated that the Debtor correctly and timely




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accomplished the above paragraphs 1, 2, 3, and 5. The dispute is with regard to paragraph 4.

Creditor’s position is that (a) after the Debtor made the so-called “down payment” described in

paragraph 3, the Debtor made her first monthly payment required by paragraph 4 on March 9,

2012, which was several days after the indicated start date of March 1, 2012; and (b) the Debtor

made that March 9, 2012 payment in the incorrect amount, paying only $1,534.45 rather than the

indicated $2,102.64. Creditor’s position is that the Debtor’s compliance with each of the five

above paragraphs is a condition precedent to the Debtor’s acceptance of the Loan Modification,

and the Debtor’s indicated tardy payment precluded the Loan Modification from ever becoming

effective.

    The Court finds that the Debtor accepted the Loan Modification and sufficiently complied

with all the requirements contained in its plain terms to the point that it thus became a binding

contract, enforceable in accordance with its terms. While the other paragraphs begin with a verb

and require the Debtor to take a particular action, the contested paragraph 4 is informational and

communicates to the Debtor what her continuing monthly payments will be. Also, the Loan

Modification is internally contradictory. Paragraph 4 explicitly states in bolded text that such

payments will be starting on March 1, 2012. However, the operative language preceding that

paragraph states: “In order to accept this modification on your loan, you must complete ALL of

the following steps on or before 2/10/12” (emphasis altered). If that initial monthly payment was

to start March 1, 2012, it would be impossible for the Debtor to pay it on or before February 10,

2012. The Debtor’s promise to make continuing monthly payments (subsequent to the so-called

“down payment” described in paragraph 3) was a continuing obligation under the Loan

Modification, not a condition precedent to its acceptance. “Courts are not inclined to construe

stipulations of a contract as conditions precedent unless compelled by the language in the




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contract.” Able Demolition v. Pontiac, 275 Mich. App. 577, 584 (2007) (quoting Mikonczyk v.

Detroit Newspapers, Inc., 238 Mich. App. 347, 350 (1999)). Here, the language of the Loan

Modification does not explicitly provide that such was a condition precedent, but rather

elsewhere explicitly provides that the continuing payments were continuing obligations of the

Debtor after both parties had accepted the Loan Modification. The Loan Modification provides:

       Pursuant to our mutual agreement to modify your Note and Mortgage and in
       consideration of the promises, conditions, and terms set forth below, the parties
       agree as follows:
                                              ***
       2. You promise to make an initial payment in the amount of $2,102.64 on or
       before 2/10/12, after which you will commence payments of principal and interest
       in the amount of $1,534.45 beginning on 3/1/12 and continuing on the same day
       of each succeeding month until all amounts owed under the Note and
       Modification are paid in full.

Exh. 1 (emphasis added). Reinforcing the Court’s conclusion is the principle that a contract

should be construed against the drafter, which in this case was Creditor. Klapp v. United Ins.

Grp. Agency, Inc., 468 Mich. 459, 472 (2003) (quoting Restatement (Second) of Contracts §

206). The Court thus finds that the Loan Modification, on its face and by its plain terms,

mandates the conclusion that the Debtor accepted it.

    Second, there are a number of facts in this case that cumulatively considered equitably estop

and should operate to preclude Creditor from pursuing or prevailing on its claim. Those facts are:

(a) if it was Creditor’s then position that the Loan Modification never became effective, it did not

timely notify the Debtor of such, leading the Debtor on the belief it was to continue remitting

payments; (b) Creditor’s own employee witness indicated her awareness that MoneyGram

(which was one of the permitted few options for remitting payments under the Loan

Modification, at least for the initial down payment) often fails to notify payors of returned

payments and, under the circumstances, Creditor should have at least notified the Debtor




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directly; (c) Creditor did not object to the provisions of the plan, which were consistent with the

payment terms of the Loan Modification; and (d) post-confirmation, Creditor received and

accepted several monthly plan payments from the Chapter 13 Trustee before it filed its

competing proof of claim, including for many months after Debtor had filed her proof of claim

consistent with the Loan Modification and confirmed plan provisions.

    Debtor also makes the argument that, as a matter of law, Creditor’s failure to object to plan

confirmation requires denial of Creditor’s proof of claim, which is inconsistent with the terms of

the confirmed plan. As to that argument, the Court notes that while it might have merit on its

face, the Court need not decide that question in light of the other above stated conclusions.

    The Debtor’s objection(s) to Creditor’s Amended Proof of Claim is therefore sustained. In

light of the Court’s conclusion, there may or may not be issues regarding how or if the Debtor’s

payments were properly applied to her account. The Court finds that any such issues should be

raised by separate motions or proceedings. The Court is contemporaneously entering an

appropriate order.




Signed on August 26, 2016
                                                 ____ __/s/ Walter Shapero_    ___
                                                    Walter Shapero
                                                    United States Bankruptcy Judge




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